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AUG 09 2018

IN THE UNITED sTATEs DISTRICT COQLB,;|; *JSB_g=-,gt~;§g$coum

FOR TI'IE DISTRICT OF MARYL&ND D'STR[CT°F t’vl#‘\FlYt-»t\r~.!Dl:,EPm_v

IN THE MATTER OF THE SEARCH Misc. No. l g f Lo '(jz' g y

OF TWO CELLULAR 'I`ELEPHONES
IN THE POSSESSION OF THE DRUG
ENFORCEMENT ADMINISTRATION

 

AFFIDAVI'I` IN SUPPORT OF
SEARCH WARRANT

Your Affiant, Drug Enforcement Adrninistration Special Agent Todd Davis,
deposes and states as follows:

l. This affidavit is submitted in support of search warrants for the following
electronic devices seized from Reinaldo ZAYAS-MERCADO upon his arrest on l\/larch
26, 2018 (collectively, the “Target Phones”):

a. lPhone - International Mobile Subscriber ldentity (IMSI)
310120057375062, Electronic Serial Number (ESN/'MSN)
089595136805513557, Mobile Station identification Nurnber (MSID)
000004432803266; Subject Number (443) 960-5714

b. lPhone - lnternational Mobile Subscriber ldentity {IMSI)
310]20223960914, Electronic Serial Nurnber (ESN/'MSN)
089286887208799001; Mobile Station Identitication Number (MSI'D)
000004104]93131, Subject Number (443) 721-1008

2. The above devices are in the possession of the Drug Enforcernent
Adrninistration. l submit that there is probable cause to believe that these electronic
devices contain evidence of the intent to distribute narcotics in violation of 21 U.S.C. §

841, evidence of participation in a conspiracy to distribute narcotics in violation of 21

U.S.C. § 846, evidence of the importation of narcotics in violation of 21 U.S.C. § 952,

 

 

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andfor evidence of participation in a conspiracy to import narcotics in violation of 21
U.S.C. § 963.

3. Because this affidavit is being submitted for the limited purpose of
establishing probable cause for the search warrants, l have not included every detail of
every aspect of the investigation Rather, l have set forth only those facts that l believe
are necessary to establish probable cause. l have not, however, excluded any information
known to me that would defeat a determination of probable cause. The information
contained in this Affidavit is based upon my personal knowledge, my review of
documents and other evidence, and my conversations with other lawn enforcement officers
and other individuals. All conversations and statements described in this Affidavit are
related in substance and in part unless otherwise indicated

EXPERTISE

4. l am a Special Agent with the Drug Enforcement Administration (DEA). I
have been so employed since Novernber 2005. l am currently assigned to Group 56 of
the DEA’s Baltimore District HIDTA Office. l am an officer of the United States who is
empowered by law to conduct investigations of, and to make arrests for, offenses
enumerated in Title 21 of the United States Code.

5. Prior to my employment at DEA, l was a Police~Officer with the Maryland
State Police for approximately nine years. During my time as a Maryland State Trooper,
l attended a 27 week police training academy, Was a member of several different
investigative units within the Maryland State Police, and had similar experiences to that
of my time as an agent with the DEA. 'l`hose experiences are described in combination

with that of my DEA experiences in later paragraphs

 

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6. As part of my employment with DEA, I attended the Basic Agent Training
Program, a 16-Week resident program that included academic instruction in the basics of
report-writing, law, firearms, surveillance techniques interview and interrogation
techniques automated information systems, drug identification, and defensive tactics, as
well as leadership and ethics During my years on duty, l have participated in numerous
arrests involving narcotics violations l have also participated in the execution of
numerous search and seizure warrants l have been the affiant for numerous search
warrants and tracking warrants 1 have reviewed taped conversations as well as
documents and other records relating to narcotics trafficking and money laundering I
have examined records consisting in part of buyers and sellers lists, and pay/owe ledgers
I have interviewed drug dealers, drug users, and confidential informants and have
discussed with them the lifestyles, appearance and habits of drug dealers and users

7. l have been involved in, and authored more than five affidavits in support
of the interception of wire and electronic.communications in the Circuit Court for
Baltimore City, the Circuit Court for Baltimore County, and the U.S. District Court of
Maryland. During the course of these wiretap investigations l have listened to numerous
intercepted phone calls between individuals involved in narcotics conspiracies Ihave
participated in numerous debriefings of narcotic traffickers, confidential informants and
sources of information l have participated in several covert undercover operations that
have resulted in large seizures of controlled dangerous substances (“CDS”), weapons,
vehicles, currency and other proceeds l have gained a working knowledge of drug

language and terminology commonly used on a daily basis by Baltimore area drug

dealers From those investigations I have authored and/or executed dozens of search and ;

 

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seizure warrants relating to controlled substances violent crime, and/or firearms
violations

8. Through my training and prior experience in drug trafficking
investigations and arrests; l am familiar with the actions, traits, habits, and terminology
utilized by drug traffickers l am familiar with the ways in which narcotic traffickers
conduct their business including methods of importing and distributing narcotics, money
laundering, the use of cellular telephones and the lnternet to facilitate their illegal acts,
and the use of numerical codes and code words to conduct drug transactions lknow, for
example, that narcotics traffickers typically use cellular telephones and other electronic
devices to communicate with suppliers and customers andotherwise fiirther their drug
trafficking activities

PROBABLE CAUSE

9. On March 23, 2018, two suspicious Prion`ty Mail Parcels were retrieved
by U.S. Postal Inspector Douglas l~lenegar from the incoming mail facility in Maryland.
One parcel (“Parcel 1”) was addressed to “Jose Arroyo” at “400 N. Bouldin St.
Baltimore, Md. 21224.” lt said it was from “Jorge Torvella” at “Marine Center Villa
Mana Shopping #2 Fajardo, PR 00738.” The other parcel (“Parcel 2”) was addressed to .
“Luiz Ortiz” at “438 Cornwall St. Baltimore, MD 21224.” lt Said it was from “Javier_
Jiminez” at “Calle Davila Zaldondo #54 Liquillo, PR 00773.”

10. On that same day, the l-Ionorable Stephanie A. Gallagher authorized

search warrants for Parcels 1 and 2. When the packages were opened, each contained

 

some electronic equipment (e.g., computer hard drive cases), which, in tum, contained a

large amount of suspected powder cocaine. Most importantly, the two packages appeared

 

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to be two halves of the same brick of cocaine. Investigators suspected this because each
package had one half of a “Nike” logo was imprinted on the wrapping, as shown in the

following pictures:

 

      

Parcel 1 _ Parcel 2

ll. Both parcels weighed approximately 530 grams and both field tested
positive for cocaine. (Subsequent lab analysis continued the field test for Parcel 1; the
results for Parcel 2 remain pending).

12, The parcels were then repackaged. Law enforcement removed
approximately 30 grams of the cocaine from each package in order to conduct controlled
deliveries of each.

13. At approximately 11:30AM on March 26, 2018, an undercover postal l
inspector delivered Parcel l to 400 N. Bouldin St. A woman, later identified as Esmerald
Figueroa, was standing on the porch and took the package inside. Moments later, `
Figueroa exited the residence with a shopping cart filled with items. Law enforcement l
followed her to the corner,of Monument Street and Haven Street where she stood as if
waiting for someone. A white Infinity then pulled up. Figueroa walked over to the
lnfinity and handed Package 1 to the driver. A member of law enforcement walked by

the vehicle and noticed the driver had opened the package and was rifling through the

contents The driver, later identified as Reinaldo ZAYAS-MERCADO, then drove away.

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Law enforcement then tried to pull the vehicle over, and a chase ensued before the
Infinity was trapped by traffic. ZAYAS-MERCADO was arrested

14. A search incident to arrest located the mail parcel containing the 30-gram
sample of cocaine in the passenger compartmentl That mail parcel was seized as
evidence. ZAYAS-MERCADO also had the Target Phones on him at that time. The
Target Phones were located in the center console of the lnfiniti that ZAYAS-
MERCADO was driving, directly next to the driver’s seat. The Target Phones were
seized and have remained in the possession of law enforcement since ZAYAS-
MERCADO’S ARREST.

15. After being read his Mimnda rights ZAYAS-MERCADO told authorities
that he Was picking up the parcel for an unknown female but knew there was cocaine
inside.

16. Sprint subscriber information on both cell phones comes back listed to
Reinaldo ZAYAS~MERCADO, Reinaldo ZAYAS JANTEH~ZAYAS, or Reinaldo
MERCADO JANTEH-ZAYAS of 2035 Bear Ridge Rd Dundalk, MD 21222 or 551
Sepia Ct Newark, DE 19702.

17. A controlled delivery of Parcel 2 was conducted later on March 26, 2018.
That parcel ended up being received by ERICK COLLAZO. A review of COLLAZO’s
phone showed communications with ZAYAS-MERCADO. Law enforcement believes
that COLLAZO was receiving Parcel 2 on ZAYAS»MERCADO’s behalf.

18. On Iune l2, 2018, the Grand jury for the District of Maryland returned an
indictment charging, in relevant part, ZAYAS-MERCADO with conspiracy to distribute

and possess with the intent to distribute 500 grams or more of cocaine and attempted

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possession of 500 grams or more of cocaine. See Criminal No. JKB-18-0321.
CONCLUSION

l 19. Based on my training and experience, l know that narcotics traffickers
routinely use cellular telephones in the commission of narcotic transactions to
communicate with their co-conspi'rators to advise the status of impending shipments of
narcotics and/or to coordinate the pick-up of bulk currency in order to avoid seizure from
detection and loss from theft I know through my training and experience that these
cellular telephones commonly retain telephone numbers and other text messages that are
dialed or sent to the device.

20. Based on the information set forth in this affidavit, l submit that there is
probable cause to believe that in both cell phones there will be evidence of intent to
distribute narcotics in violation of 21 U.S.C. § 841, conspiracy to distribute narcotics in
violation of 21 U.S.C. § 846, such as contact names addresses phone numbers times of
contact, text messages email messages voicemail messages photographs evidence of
travel and financial information, and other electronically stored information l request
permission to search_ both identified cell phones listed above and described in

Attachment A, for the information in Attachment B, subject to the procedures outlines in

Attachment C. f /QQ

Special Agent Todd Davis a
va Drug §nforcément;Administration `

    

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'Sworn to before me ming - day of July, 20 ‘ '

 

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Stepl"`iz§ie A. G_allagher
United States'l\/Iagistrate Judge

 

 

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Attachrnent A

The following cellular phones seized from Reinaldo Luis ZAYAS-MERCADO during
his arrest on March 26, 2018 and retained by the Drug Enforcernent Administration since
that time, are the subject of this warrant (collectively, the “Target Phones”):

a. lPhone - llnternational l\/lobile Subscriber ldentity (IMSI) '
310120057375062, Electronic Serial Number (ESN/MSN)
08959513680551355?, Mobile Station Identification Number (MSID)
000004432803266; Subject Number (443) 960-5714

- b. lPhone - international Mobile Subscriber ldentity (IMSI)
310120223960914, Electronic Serial Number (ESN/MSN)
08928688720879900]; l\/lobile Station Identification Number (MSID)
000004104193131, Subject Number (443) 721-1008

 

 

 

 

 

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Attachment B

These warrants authorize the search and seizure of the following information and
electronically stored data contained from the Target Phones fiirther described in

Attachment A:
1. Names, addresses telephone numbers and other contact information of
co-conspirators;
2. Communications (such as text messages and email messages) with co-
conspirators and
3 . Photographs.
4. Any and all records and documents related to the acquisition, possession

or distribution of controlled dangerous substances including but not
limited to appointment books diaries calendars,`work schedules phone
numbers email addresses and real property addresses

5. Any and all records documents and materials pertaining to employment,
including but not limited to job applications resumes references fringe
benefits and correspondence;

6. Any and all records documents and materials pertaining to the use of the
U.S. Postal Service, UPS, or other commercial carriers;
7. Records, receipts bank statements and bank records ATM/Debit cards

money drafts letters of credit, wire transfers money orders and cashier
check, passbooks, bank checks and any other items evidencing the
obtaining, secreting, transfer, concealment and/or expenditure of money;
8. Any and all records documents and materials related to foreign and
i domestic travel, including but not limited to plane tickets hotel
reservation documentation, international border crossing, or any document
reflecting travel plans or itinerary.

The terms “records” “documents” and “maten'als” include all of the following items of
evidence in whatever form and by whatever means such records documents or materials
their drafts or their modifications may have-beencreated and stored, including but not
limited to: any electrical, electronic, or magnetic form (such as any information on an
electronic or magnetic storage device, such as hard disks or drives printer buffers smart
cards memory calculators electronic dialers Bernoulli drivers cellular telephones
personal digital assistants (PDAs), smart phones tablets or electronic notebooks

 

 

 

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Attachment C
Search Protocols

These warrants authorize the search of electronically stored information and other
documents related to the items listed on Attachment B.

Because of the possibility that the files examined pursuant to the warrant will
include information that is beyond the Scope of what the United States has demonstrated
the existence probable cause to search for, the search shall be conducted in a manner that
will minimize to the greatest extent possible the likelihood that files or other information
for which there is not probable cause to search is not viewed.

While this protocol does not prescribe the specific search protocol to be used, it
does contain limitations to what government investigators may view during their search,
and the searching investigators shall be obligated to document the search methodology
used in the event that there is a subsequent challenge to the search that was conducted,
pursuant to the following protocol:

With respect to the search of any digitally/electronically stored information that is
j seized pursuant to this warrant, and described in Attachment B hereto, the search
l procedure shall include Such reasonably available techniques designed to minimize the
chance that the government investigators conducting the search will view information

that is beyond the scope for which probable cause exists

The following list of techniques is a non-exclusive list which illustrates the types
of search methodology that may avoid an overbroad search, and the government may use §
other procedures that, like those listed below, minimize the review of information not
within the list of items to be seized as set forth herein: l

a. Use of computer search methodology to conduct an examination of all the l
data contained in such computer hardware, computer software, and/or l
memory storage devices to determine whether that data falls within the
items to be seized as set forth herein by specific date ranges names of
individuals or organizations

b. Searching for and attempting to recover any deleted, hidden, or encrypted
data to determine whether that data falls within the list of items to be
seized as set forth herein; '

c. Physical examination of the storage device, including digitally surveying
various file directories and the individual files they contain to determine
whether they include data falling within the list of items to be seized as set
forth herein;

d. Opening or reading portions of files that are identified as a result of
conducting digital search inquiries in order.

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